            Case 1:20-cv-00054-N/A Document 8            Filed 11/23/20    Page 1 of 3


                   UNITED STATES COURT OF INTERNATIONAL TRADE

MOEN INC.,                                           )
                                                     )
       Plaintiff                                     )    Court No. 20-00054
                                                     )    and Attached Schedule
       v.                                            )
                                                     )
UNITED STATES,                                       )
                                                     )
       Defendant.
                                                     )

                                   NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE that Plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses the actions listed on the attached
schedule.

Dated: November 23, 2020

                                             /s/ Wm. Randolph Rucker
                                             Wm. Randolph Rucker

                                             FAEGRE DRINKER BIDDLE & REATH LLP
                                             Attorney for Plaintiff
                                             191 N. Wacker Drive
                                             Suite 3700
                                             Chicago, IL 60606
                                             Telephone: (312) 569-1157
                                             E-mail: randy.rucker@faegredrinker.com
           Case 1:20-cv-00054-N/A Document 8          Filed 11/23/20    Page 2 of 3

Moen Inc. v. United States                                                                   2
Court No. 20-00054


                                Schedule to Notice of Dismissal

    Court Number             Plaintiff Name       Protest Number(s)        Entry Number(s)
       20-00054                Moen Inc.           2704-15-100761            231-12916303
                                                                             231-12916956
                                                                             336-66428366
                                                   2704-15-101298            231-12980713
                                                                             231-12981018
                                                                             231-12981133
                                                                             231-12981489
                                                   1401-19-100924            300-39004833
                                                                             300-39004874
                                                                             300-39009295
                                                                             300-39012380
                                                                             300-39015995
                                                                             300-39030242

                                      Order of Dismissal


       The actions listed on the schedule set forth above, having been voluntarily noticed for
dismissal by Plaintiff, are dismissed.




Dated: __________________
                                                 Clerk, U.S. Court of International Trade


                                                 By: __________________________________
                                                     Deputy Clerk
           Case 1:20-cv-00054-N/A Document 8           Filed 11/23/20     Page 3 of 3




                                CERTIFICATE OF SERVICE

        Wm. Randolph Rucker certifies that he is an attorney with the law firm of Faegre Drinker
Biddle & Reath LLP, with offices located at 191 North Wacker Drive, Suite 3700, Chicago,
Illinois 60606, and that on November 23, 2020 on behalf of the Plaintiff herein, he served the
attached Notice of Dismissal on:

        Jamie L. Shookman
        U.S. Department of Justice
        International Trade Field Office
        26 Federal Plaza
        Room 346
        New York, NY 10278

the attorney for the Defendant herein, by electronic service via the CM/ECF filing system.


                                           /s/ Wm. Randolph Rucker
                                           Wm. Randolph Rucker




ACTIVE.125548388.01
